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                                NOT FOR PUBLICATION                        FILED
                       UNITED STATES COURT OF APPEALS                       JUL 22 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                                FOR THE NINTH CIRCUIT

  UNITED STATES OF AMERICA,                       No.    20-55781

                   Plaintiff-Appellee,            D.C. No.
                                                  2:16-cv-05376-DSF-PLA
    v.

  BOARD OF MANAGERS OF THE                        MEMORANDUM*
  WALKER TOWER CONDOMINIUM,
  AKA Residential Section of the Walker
  Tower Condominium,

                   Claimant-Appellant,

   and

  S. A.K.A.; et al.,

                   Claimants,

    v.

  REAL PROPERTY LOCATED IN NEW
  YORK, NEW YORK,

                   Defendant.

                       Appeal from the United States District Court
                          for the Central District of California
                        Dale S. Fischer, District Judge, Presiding


         *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
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                             Argued and Submitted July 9, 2021
                                   Pasadena, California

  Before: WATFORD and BUMATAY, Circuit Judges, and FREUDENTHAL,**
  District Judge.

           The United States initiated this civil forfeiture action against a Walker Tower

  condominium located in New York, New York. The Board of the Walker Tower

  association entered a consent judgment with the government, agreeing to surrender

  “all right, title, and interest” in the property. When the government sought to sell

  the property to a third party, the Board attempted to invoke its right of first refusal

  (“ROFR”) as provided by the condominium’s bylaws.

           After the United States moved to enforce the consent judgment, the district

  court held that the Board had forfeited its ROFR. The district court denied the

  Board’s request to stay its order. The Board did not request a stay before this court.

  The government proceeded to sell the property to a third party. The Board appealed.

  Having completed the sale, the United States now argues the appeal is moot. We

  agree.

           Article III jurisdiction must exist “at all stages of review, not merely at the

  time the complaint is filed.” Vegas Diamond Props., LLC v. FDIC, 669 F.3d 933,

  936 (9th Cir. 2012) (simplified). And jurisdiction is lost “if no present controversy



           **
                The Honorable Nancy D. Freudenthal, United States District Judge for
  the District of Wyoming, sitting by designation.

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  exists as to which an appellate court can grant effective relief.” Id. That is the case

  here. Even if the consent judgment did not extinguish its ROFR, the Board would

  not be able to exercise that right because the sale has already occurred. See In Def.

  of Animals v. U.S. Dep’t of Interior, 648 F.3d 1012, 1013 (9th Cir. 2011) (per

  curiam) (appeal to prevent roundup of wild horses moot where roundup had already

  been conducted).

        The Board argues that the appeal is not moot because there are still potential

  avenues for relief. But before the district court, the Board moved only for a

  declaration that its ROFR survived the consent judgment and for an order directing

  the government to close the sale with the Board’s designee. The sale is complete,

  however, and the harm to the Board cannot be “undone” by granting the Board’s

  requested relief. Am. Horse Prot. Ass’n, Inc. v. Watt, 679 F.2d 150, 151 (9th Cir.

  1982) (per curiam). As the Board conceded, any relief must now be sought in state

  court. This appeal is therefore moot.

         When an appeal becomes moot, our “ordinary practice” is to vacate the order

  or judgment being appealed. Lewis v. Continental Bank Corp., 494 U.S. 472, 482

  (1990); see United States v. Munsingwear, Inc., 340 U.S. 36, 40 (1950) (“When that

  procedure is followed, the rights of all parties are preserved[.]”). Accordingly, we




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  VACATE the district court’s order granting the government’s motion to enforce the

  consent judgment and DISMISS the appeal.1




  1
    We also grant the Board’s unopposed motion for judicial notice (Dkt. No. 40), and
  the government’s motion to file a late response to the Board’s motion (Dkt. No. 45).

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